Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 1 of 19




                                Exhibit 1
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 2 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 3 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 4 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 5 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 6 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 7 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 8 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 9 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 10 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 11 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 12 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 13 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 14 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 15 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 16 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 17 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 18 of 19
Case 1:21-cv-20717-RNS Document 1-3 Entered on FLSD Docket 02/22/2021 Page 19 of 19
